     Fill in this information to identify the case:

     Debtor 1 Kristin Wade Johannes aka Kris Johannes aka Kris W. Johannes aka Kristin
     Johannes aka Kristin W. Johannes
     Debtor 2
     (Spouse, if filing)

     United States Bankruptcy Court for the: Middle District of Pennsylvania
     Case number 5:20-bk-01044-MJC



 Official Form 410S1
 Notice of Mortgage Payment Change                                                                                                       12/15

 If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest
 in the debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File
 this form as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule
 3002.1.

  Name of creditor: Rocket Mortgage, LLC f/k/a Quicken Loans,                   Court claim no. (if known): 6
  LLC f/k/a Quicken Loans Inc
  Last four digits of any number you           2063                            Date of payment change:                    12/01/2024
  use to identify the debtor’s account:                                        Must be at least 21 days after date of
                                                                               this notice

                                                                               New total payment:                        $1,314.98
                                                                               Principal, interest, and escrow, if any

  Part 1: Escrow Account Payment Adjustment
     Will there be a change in the debtor’s escrow account payment?
           No
           Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law.
            Describe the basis for the change. If a statement is not attached, explain why:

            Current escrow payment: $ 404.49             New escrow payment:         $ 426.82



  Part 2: Mortgage Payment Adjustment
     Will the debtor’s principal and interest payment change based on an adjustment to the interest rate in the debtor's variable-
     rate note?
            No
            Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
            attached, explain why:

                Current interest rate:                               %              New interest rate:                               %

               Current principal and interest payment: $ _________               New principal and interest payment: $ __


  Part 3: Other Payment Change
     Will there be a change in the debtor’s mortgage payment for a reason not listed above?
           No
           Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan
           modification agreement. (Court approval may be required before the payment change can take effect.)

               Reason for change:


               Current mortgage payment: $                         New mortgage payment: $




Official Form 410S1                           Notice of Mortgage Payment Change                                               page 1

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   Debtor1 Kristin Wade Johannes aka Kris Johannes aka Kris           Case number (if known) 5:20-bk-01044-MJC
   W. Johannes aka Kristin Johannes aka Kristin W. Johannes
             First Name           Middle Name        Last Name


   Part 4: Sign Here
   The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
   telephone number.

   Check the appropriate box.
     I am the creditor.

     I am the creditor’s authorized agent.



   I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my knowledge,
   information, and reasonable belief.



    /s/ Mario Hanyon
       Signature
                                                                                     Date 11/01/2024



   Print: Mario Hanyon (203993)
         First Name           Middle Name            Last Name                       Title Attorney



   Company Brock & Scott, PLLC

            Address 3825 Forrestgate Dr.
            Number                     Street


            Winston-Salem, NC 27103
             City         State        ZIP Code


   Contact phone 844-856-6646                                                        Email PABKR@brockandscott.com




Official Form 410S1                                Notice of Mortgage Payment Change                                 page 2

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                                IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
                                            Wilkes-Barre Division


 IN RE:
 Kristin Wade Johannes aka Kris Johannes aka Kris W.             Case No. 5:20-bk-01044-MJC
 Johannes aka Kristin Johannes aka Kristin W. Johannes
                                                                 Chapter 13
 Rocket Mortgage, LLC f/k/a Quicken Loans, LLC f/k/a Quicken
 Loans Inc,
          Movant

 vs.

 Kristin Wade Johannes aka Kris Johannes aka Kris W.
 Johannes aka Kristin Johannes aka Kristin W. Johannes ,
          Debtor




                                            CERTIFICATE OF SERVICE

        I, the undersigned, hereby certify that a true and exact copy of the foregoing Notice of Mortgage Payment Change
has been electronically served or mailed, postage prepaid on this day to the following:

Via Electronic Notice:

Brett Freeman, Debtor's Attorney
606 Hamlin Highway Suite 2
Lake Ariel, PA 18436
brett@freeman.law


Jack N Zaharopoulos, Bankruptcy Trustee
8125 Adams Drive, Suite A
Hummelstown, PA 17036

United States Trustee, US Trustee
US Courthouse
1501 N. 6th St
Harrisburg, PA 17102




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Via First Class Mail:

Kristin Wade Johannes
1757 Beach Lake Hwy
Beach Lake, PA 18405-4061



Date: November 1, 2024
                                      /s/Mario Hanyon
                                      Andrew Spivack, PA Bar No. 84439
                                      Matthew Fissel, PA Bar No. 314567
                                      Mario Hanyon, PA Bar No. 203993
                                      Ryan Starks, PA Bar No. 330002
                                      Jay Jones, PA Bar No. 86657
                                      Attorney for Creditor
                                      BROCK & SCOTT, PLLC
                                      3825 Forrestgate Drive
                                      Winston Salem, NC 27103
                                      Telephone: (844) 856-6646
                                      Facsimile: (704) 369-0760
                                      E-Mail: PABKR@brockandscott.com




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                                             Paperless Statement/Electronic Only


                                                                                             Annual Escrow Account
                                                                                              Disclosure Statement
1050 Woodward Avenue | Detroit, MI 48226

                                                                     Loan Information
                                                                        Loan Number:
      KRISTIN WADE JOHANNES
      STEPHANIE JOHANNES                                             Property Address: 1757 Beach Lake Hwy
      1757 BEACH LAKE HWY                                                              Beach Lake, PA 18405
      BEACH LAKE PA 18405
                                                                      Statement Date: 10/21/2024
                                                                           New Payment
                                                                          Effective Date: 12/01/2024




   1. Your Escrow Account Has A Shortage
  To take a closer look at your numbers,                            Projected Escrow Account Balance
  sign in to Rocket Mortgage® and click on
                                                                    Projected Minimum Balance:                                            $674.95
  the Loan Information tab.
                                                                    Required Minimum Balance:                                             $828.12
  Due to an increase in your taxes and/or insurance,
                                                                    Shortage Amount:                                                      $153.17
  your escrow account is short $153.17.
                                                                    Note: This amount has been adjusted to account for the bankruptcy proof of claim.




   2. Your Payment Is Changing
  Your escrow payment is increasing. You have a shortage of                               Mortgage Payment Breakdown
  $153.17 that is being spread over 12 months.                                    $1,600

                                                                                  $1,400
     Breaking Down The Numbers
                                      Current               New                   $1,200

     Principal & Interest:            $888.16            $888.16                  $1,000
     Escrow Payment:                  $404.49            $414.06
                                                          $12.76                    $800
     Shortage:
     Monthly Payment:               $1,292.65          $1,314.98                    $600

  Please note that the current payment amount listed above is the                   $400
  payment amount that the loan is due for under the terms of the
  security instrument. This may differ from the payment amount                      $200
  under the terms of the bankruptcy plan.
                                                                                                      Current Payment         New Payment

                                                                               Principal & Interest        Escrow Payment      Shortage




     Quick And Easy Payment Options
            RocketMortgage.com                           Rocket Mortgage® mobile app                             24/7 access at (800) 508-0944




                                              THIS SPACE INTENTIONALLY LEFT BLANK




                                                                                                                                             Page 1

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                                                                                                                Annual Escrow Account
                                                                                                                 Disclosure Statement
1050 Woodward Avenue | Detroit, MI 48226


  3. A Closer Look At Your Escrow Account History

   Escrow Account Disbursement From December 2023 To November 2024

       Estimated Tax:                    $3,996.84        Estimated Insurance:                        $857.00        Estimated Total:              $4,853.84
       Actual Tax:                       $4,070.72        Actual Insurance:                           $898.00        Actual Total:                 $4,968.72


 This section highlights the differences between the estimated and actual payment amounts for the taxes and insurance
 and shows the reason for the current shortage.
 The actual amounts paid out for taxes and insurance over the past year, as shown here, are used as the basis for our
 projections for the upcoming 12 months.

 The table below details the activity history for your escrow account from last year. The differences in your tax and insurance
 payment amounts are highlighted in yellow. Please keep in mind that the history will reflect the month in which the
 payment or disbursement was made. This may be different than the payment or disbursement due date.


       Escrow Account Activity History For December 2023 To November 2024
                                                                         Payments                      Disbursements                       Balance
   Date           Activity                                       Estimated             Actual       Estimated             Actual     Estimated          Actual
   12/2023 Beginning Balance                                                                                                         $1,617.91     $2,022.40
   12/2023 Deposit                                                  $404.49          $404.49              $0.00            $0.00     $2,022.40     $2,426.89
   01/2024 Deposit                                                  $404.49          $404.49              $0.00            $0.00     $2,426.89     $2,831.38
   02/2024 Deposit                                                  $404.49          $404.49              $0.00            $0.00     $2,831.38     $3,235.87
   02/2024 Withdrawal - HOMEOWNERS INS                                  $0.00           $0.00             $0.00          $898.00     $2,831.38     $2,337.87
   03/2024 Deposit                                                  $404.49          $404.49              $0.00            $0.00     $3,235.87     $2,742.36
   03/2024 Withdrawal - HOMEOWNERS INS                                  $0.00           $0.00          $857.00             $0.00     $2,378.87     $2,742.36
   04/2024 Deposit                                                  $404.49          $404.49              $0.00            $0.00     $2,783.36     $3,146.85
   05/2024 Deposit                                                  $404.49          $404.49              $0.00            $0.00     $3,187.85     $3,551.34
   05/2024 Withdrawal - TOWNSHIP TAXES                                  $0.00           $0.00        $1,253.73       $1,253.73       $1,934.12     $2,297.61
   05/2024 Withdrawal - TOWNSHIP TAXES                                  $0.00           $0.00             $1.00            $1.00     $1,933.12     $2,296.61
   06/2024 Deposit                                                  $404.49          $404.49              $0.00            $0.00     $2,337.61     $2,701.10
   07/2024 Deposit                                                  $404.49          $404.49              $0.00            $0.00     $2,742.10     $3,105.59
   08/2024 Deposit                                                  $404.49          $404.49              $0.00            $0.00     $3,146.59     $3,510.08
   08/2024 Withdrawal - SCHOOL TAXES                                    $0.00           $0.00             $0.00      $2,813.52       $3,146.59      $696.56
   08/2024 Withdrawal - SCHOOL TAXES                                    $0.00           $0.00             $0.00            $2.47     $3,146.59      $694.09
   09/2024 Deposit                                                  $404.49          $404.49              $0.00            $0.00     $3,551.08     $1,098.58
   09/2024 Withdrawal - SCHOOL TAXES                                    $0.00           $0.00        $2,739.74             $0.00       $811.34     $1,098.58
   09/2024 Withdrawal - SCHOOL TAXES                                    $0.00           $0.00             $2.37            $0.00       $808.97     $1,098.58
   10/2024 Deposit                                                  $404.49             $0.00             $0.00            $0.00     $1,213.46     $1,098.58
   11/2024 Deposit                                                  $404.49          $404.49              $0.00            $0.00     $1,617.95     $1,503.07 **
                   Totals                                        $4,853.88        $4,449.39         $4,853.84 $4,968.72
  **
       This amount is a projection as of the date of this analysis. It has not been received or remitted at this time.




                                                                                                                                                         continued à
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                                                                                                 Annual Escrow Account
                                                                                                  Disclosure Statement
1050 Woodward Avenue | Detroit, MI 48226




4. A Closer Look At Projections For Your Escrow Account

   Escrow Account Projection
   Description                                       Annual Amount
   HOMEOWNERS INS:                                          $898.00
   TOWNSHIP TAXES:                                       $1,254.73
   SCHOOL TAXES:                                         $2,815.99
   Total Annual Taxes And Insurance:                       $4,968.72
   New Monthly Escrow Payment:                                $414.06

The table below details the projected activity for your escrow account. The minimum required balance, highlighted in yellow,
is determined by the Real Estate Settlement Procedures Act (RESPA), your mortgage contract or state law. Your account's
selected minimum allowed balance or cushion is $828.12. Your minimum required balance may include up to two months of
escrow payments to cover increases in your taxes and insurance.

The actual amounts paid out for taxes and insurance, as shown in the Escrow Account Activity History Table, are used as the
basis for our projections for the upcoming year.

      Future Escrow Account Activity For December 2024 To November 2025
                                                               Payments                 Disbursements                      Balance
  Date        Activity                                     Estimated                   Estimated                   Estimated         Required
  12/2024 Beginning Balance                                                                                        $1,503.07         $1,656.24
  12/2024 Deposit                                            $414.06                         $0.00                 $1,917.13         $2,070.30
  01/2025 Deposit                                            $414.06                         $0.00                 $2,331.19         $2,484.36
  02/2025 Deposit                                            $414.06                         $0.00                 $2,745.25         $2,898.42
  03/2025 Deposit                                            $414.06                         $0.00                 $3,159.31         $3,312.48
  03/2025 Withdrawal - HOMEOWNERS INS                           $0.00                     $898.00                  $2,261.31         $2,414.48
  04/2025 Deposit                                            $414.06                         $0.00                 $2,675.37         $2,828.54
  05/2025 Deposit                                            $414.06                         $0.00                 $3,089.43         $3,242.60
  05/2025 Withdrawal - TOWNSHIP TAXES                           $0.00                   $1,253.73                  $1,835.70         $1,988.87
  05/2025 Withdrawal - TOWNSHIP TAXES                           $0.00                        $1.00                 $1,834.70         $1,987.87
  06/2025 Deposit                                            $414.06                         $0.00                 $2,248.76         $2,401.93
  07/2025 Deposit                                            $414.06                         $0.00                 $2,662.82         $2,815.99
  08/2025 Deposit                                            $414.06                         $0.00                 $3,076.88         $3,230.05
  09/2025 Deposit                                            $414.06                         $0.00                 $3,490.94         $3,644.11
  09/2025 Withdrawal - SCHOOL TAXES                             $0.00                   $2,813.52                     $677.42         $830.59
  09/2025 Withdrawal - SCHOOL TAXES                             $0.00                        $2.47                    $674.95         $828.12 L
  10/2025 Deposit                                            $414.06                         $0.00                 $1,089.01         $1,242.18
  11/2025 Deposit                                            $414.06                         $0.00                 $1,503.07         $1,656.24
              Totals                                       $4,968.72                   $4,968.72
  L
   This amount denotes the projected low point balance.




  If you have an active bankruptcy or you received a bankruptcy discharge, we are sending this for informational or legal purposes only. We’re
  not trying to collect against you personally. If you have any questions about this communication or your obligation to pay, please contact your
  attorney. If you want to send us a Qualified Written Request, a Notice of Error, or an Information Request, you must mail it to
  Rocket Mortgage, LLC, P.O. Box 442359, Detroit, MI 48244-2359, or fax it to (877) 382-3138.
        Phone: (800) 508-0944                                      Hours: Monday - Friday: 8:30 a.m. - 9:00 p.m. ET
         Email: ServicingHelp@RocketMortgage.com                               Saturday: 9:00 a.m. - 4:00 p.m. ET                          Page 3
   Secure Fax: (877) 380-5084                                                    Preguntas: (800) 982-2544
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